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                                                                         www.flsb.uscourts.pov
                                                    CHAPTER 13 PLAN andividual Adjustment of Debts)

                              □                                          Original Plan

                              □                                          Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)

                              [g FIFTH                                   Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

    DEBTOR: Marco Barrios                                    JOINT DEBTOR: Maria Barrios                            CASE NO.: 20-19836-AJC

    SS#: xxx-xx- 9286                                           SS#: xxx-xx-8032

    I.           NOTICES

                 To Debtors:         Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans ai
                                     modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Loc
                                     Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filii
                                     the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:       Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim m:
                                     be reduced, modified or eliminated.
                 To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one b«
                                      on each line listed below in this section to state whether the plan includes any of the following:

         The valuation of a secured claim, set out in Section III, which may result in a                            \u\   Included         n     Not included
         partial payment or no payment at all to the secured creditor
         Avoidance ofajudicial lien or nonpossessory, nonpurchase-money security interest, set                      r~l   Included         [■1   Not included
         out in Section 111

         Nonstandard provisions, set out in Section IX                                                              [g Included            r~1   Not included
    II.          PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfSV ATTORNEY'S FEE

                A.      MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustei
                        fees of 10%, beginning 30 days from the filin^conversion date. In the event the trustee does not retain the full 10%, any unus-
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.    $2,668.55           for months    1    to 40      ;

                        2.    $12,148.95          for months   41    to 41      ;

                 B.     DEBTORfSV ATTORNEY’S FEE;                                          □ NONE    □ PRO BONO
              Total Fees:             $1,050.00           Total Paid:               $1,050.00          Balance Due:             $0.00


              Payable _            $0.00          /month (Months     0    to 0      )
              Allowed fees under LR 2016-1(B)(2) are itemized below:
              Jose A. Blanco, P.A. $525 Motion to Modify

              Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
              Total Fees:             $7,625.00           Total Paid:               $1,995.00          Balance Due:           $5,630.00

              Payable             $140.75         /month (Months     1^ to 40 )
              Allowed fees under LR 2016-1(B)(2) are itemized below:
              Robert Sanchez, P.A. $7,625.00

              Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.         TREATMENT OF SECURED CLAIMS                        □ NONE
                 A. SECURED CLAIMS; □ NONE
                 [Retain Liens pursuant to 11 U.S.C. § 1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
               1. Creditor: Specialized Loan Servicing, LLC [POC# 12-2]
                   Address: 6200 S. Quebec Street               Arrearage/ Payoff on Petition Date     $13,012.82



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                        Greenwood Village, CO             Arrears Payment (Cure)                         $196.65          /month (Months     1   to 40 )
                        80111 per ECF#26
                                                          Arrears Payment (Cure)                         $5,146.78        /month (Months 41      to 41   )
         Last 4 Digits of
         Account No.:                 6149                Regular Payment (Maintain)                     $2,001.67        /month (Months _|_ to_40_ )
                                                          Regular Payment (Maintain)                     $2,722.63        /month (Months 41      to 41   )

        Other:


        [U Real Property                                                         Check one below for Real Property:
                 [■iPrincipal Residence                                          @Escrow is included in the regular payments
                 □other Real Property                                            □The debtor(s) will pay        Qtaxes      Qinsurance directly
         Address of Collateral:
         466 E 56 Street, Hialeah, FL 33013


        □ Personal Property/Vehicle
         Description of Collateral:
              B. VALUATION OF COLLATERAL:                  □ NONE
                   IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                   SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                   YOU PURSUANT TO BR 7004 AND LR 3015-3.

                    1. REAL PROPERTY: H] NONE
                   2. VEHICLES(S): □ NONE
                                                                                                                               Payment
          1    Creditor: Capital One Auto Finance a      Value of Collateral:                $3,000.00
                         division of Capital One, NA                                                                                       $3,417.48
                                                         Amount of Creditor's Lien:          $9,057.18     Total paid in plan:
                         c/o AIS Portfolio Services,
                         LP

                                                         Interest Rate:       5.25%                              $56.09      /montli (Months      1 to 40 )
               Address: FOB 4360
                        Houston, TX 77210                                                                       $1,174.15    /month (Months 41 to 41 )

         Last 4 Digits of Account No.: 9719
         VIN: WDDDJ75X66A071628

         Description of Collateral:
         2006 Mercedes-Benz CLS500 Sedan



         Check one below:
              Claim incurred 910 days or more pre
         11 petition
              Claim incurred less than 910 days pre
         □
              petition
                   3. PERSONAL PROPERTY: I] NONE
              C. LIEN AVOIDANCE [§ NONE
              D. SURRENDER OF COLLATERAL:                    0 NONE
              E. DIRECT PAYMENTS              □ NONE
              Secured claims filed by any creditor granted stay relief in tliis section shall not receive a distribution from the Chapter 13 Trustee.
                  The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                   confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                   codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                        Name of Creditor                Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.)

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                             Name of Creditor               Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.)
                              United Consumer Financial     5950                                 Household Item
                        1.
                              Services
IV.            TREATMENT OF FEES AND PRIORITY CLAIMS Pas defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                              g] NONE
V.             TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                          □ NONE
                 A. Pay              $97.23       /month (Months       I    to 40 )

                     Pay           $1,890.49      /month (Months      41    to 41   )

                     Pro rata dividend will be calculated by the Trustee upon review' of filed claims after bar date.

                 B. □ Ifchecked, the Debtor(s) will amend/modify to pay 100% to all allow'ed unsecured nonpriority claims.
                 C. SEPARATELY CLASSIFIED:                    \m\ NONE
VI.            STUDENT LOAN PROGRAM                     [f] NONE
VII.           EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                      g] NONE
VIII.          INCOME TAX RETURNS AND REFUNDS;

                    g The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                             annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                             Trustee w'ith their filed tax returns is on or before May     15 of each year the case is pending and that the debtor(s) shall
                             provide the trustee (but not file with the Court) w'ith verification of their disposable income if their gross household income
                             increases by more than 3% over the previous year’s income. [Miami cases]
IX.            NON-STANDARD PLAN PROVISIONS □ NONE
               g Nonstandard provisions must be set forth below-. A nonstandard provision is a provision not otherwise included in the Local
                  Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                 This 3AP begins the Debtors' Cure and Maintain Plan for P0C#I2-1 in month 4 (Janiiaiy) since the Debtors made the first three
                 Regular Payments (Maintain) post-petition directly to the lender. The Cure portion of the plan begins from month 1. The
                 Maintain Regular Payments begin on month 4.
               Q Mortgage Modification Mediation


                             PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

        I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                                                                                                        Joint Debtor
    7
        / ruvkx?                                 Debtor
                                                                                                                                               Date
/
                                                                    Date                      aria Barrios
          arco Barrios




        /s/ Jose A, Blanco. Esq.                      January 17, 2024
                                                                   Date
         Attorney w'ith permission to sign on
          Debtor(s)' behalf who cenifies that
           the contents of the plan have been
             review'ed and approved by the
                        Debtor(s).'

        By filing this document, the Attorney for Dehtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
        order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
        contains no nonstandard provisions other than those set out in paragraph IX.




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●This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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